Case 2:18-cv-06842-ODW-JPR Document 21-2 Filed 12/11/18 Page 1 of 22 Page ID #:79




                               Exhibit 2
Case 2:18-cv-06842-ODW-JPR Document 21-2 Filed 12/11/18 Page 2 of 22 Page ID #:80




                                           Exh. 2 to ASF Declaration, page 1 of 21
Case 2:18-cv-06842-ODW-JPR Document 21-2 Filed 12/11/18 Page 3 of 22 Page ID #:81




                                           Exh. 2 to ASF Declaration, page 2 of 21
Case 2:18-cv-06842-ODW-JPR Document 21-2 Filed 12/11/18 Page 4 of 22 Page ID #:82




                                           Exh. 2 to ASF Declaration, page 3 of 21
Case 2:18-cv-06842-ODW-JPR Document 21-2 Filed 12/11/18 Page 5 of 22 Page ID #:83




                                           Exh. 2 to ASF Declaration, page 4 of 21
Case 2:18-cv-06842-ODW-JPR Document 21-2 Filed 12/11/18 Page 6 of 22 Page ID #:84




                                           Exh. 2 to ASF Declaration, page 5 of 21
Case 2:18-cv-06842-ODW-JPR Document 21-2 Filed 12/11/18 Page 7 of 22 Page ID #:85




                                           Exh. 2 to ASF Declaration, page 6 of 21
Case 2:18-cv-06842-ODW-JPR Document 21-2 Filed 12/11/18 Page 8 of 22 Page ID #:86




                                           Exh. 2 to ASF Declaration, page 7 of 21
Case 2:18-cv-06842-ODW-JPR Document 21-2 Filed 12/11/18 Page 9 of 22 Page ID #:87




                                           Exh. 2 to ASF Declaration, page 8 of 21
Case 2:18-cv-06842-ODW-JPR Document 21-2 Filed 12/11/18 Page 10 of 22 Page ID #:88




                                            Exh. 2 to ASF Declaration, page 9 of 21
Case 2:18-cv-06842-ODW-JPR Document 21-2 Filed 12/11/18 Page 11 of 22 Page ID #:89




                                           Exh. 2 to ASF Declaration, page 10 of 21
Case 2:18-cv-06842-ODW-JPR Document 21-2 Filed 12/11/18 Page 12 of 22 Page ID #:90




                                           Exh. 2 to ASF Declaration, page 11 of 21
Case 2:18-cv-06842-ODW-JPR Document 21-2 Filed 12/11/18 Page 13 of 22 Page ID #:91




                                           Exh. 2 to ASF Declaration, page 12 of 21
Case 2:18-cv-06842-ODW-JPR Document 21-2 Filed 12/11/18 Page 14 of 22 Page ID #:92




                                           Exh. 2 to ASF Declaration, page 13 of 21
Case 2:18-cv-06842-ODW-JPR Document 21-2 Filed 12/11/18 Page 15 of 22 Page ID #:93




                                           Exh. 2 to ASF Declaration, page 14 of 21
Case 2:18-cv-06842-ODW-JPR Document 21-2 Filed 12/11/18 Page 16 of 22 Page ID #:94




                                           Exh. 2 to ASF Declaration, page 15 of 21
Case 2:18-cv-06842-ODW-JPR Document 21-2 Filed 12/11/18 Page 17 of 22 Page ID #:95




                                           Exh. 2 to ASF Declaration, page 16 of 21
Case 2:18-cv-06842-ODW-JPR Document 21-2 Filed 12/11/18 Page 18 of 22 Page ID #:96




                                           Exh. 2 to ASF Declaration, page 17 of 21
Case 2:18-cv-06842-ODW-JPR Document 21-2 Filed 12/11/18 Page 19 of 22 Page ID #:97




                                           Exh. 2 to ASF Declaration, page 18 of 21
Case 2:18-cv-06842-ODW-JPR Document 21-2 Filed 12/11/18 Page 20 of 22 Page ID #:98




                                           Exh. 2 to ASF Declaration, page 19 of 21
Case 2:18-cv-06842-ODW-JPR Document 21-2 Filed 12/11/18 Page 21 of 22 Page ID #:99




                                           Exh. 2 to ASF Declaration, page 20 of 21
Case 2:18-cv-06842-ODW-JPR Document 21-2 Filed 12/11/18 Page 22 of 22 Page ID
                                  #:100




                                        Exh. 2 to ASF Declaration, page 21 of 21
